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                                    UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF FLORIDA
                                             ORLANDO DIVISION



   UNITED STATES OF AMERICA,


            Plaintiff,


   v   .
                                                                      Case No. 6:16-cr-00180-RBD-GJK

  JAMES LONG,

            Defendant.



                         DEFENDANT,S SENTENCING MEMORANDUM

            COMES NOW the Defendant                ,   James Long [hereinafter "Long"],1 by and though his

   undersigned counsel, and in support of the positions to be taken at sentencing of this matter

   on January 9, 2017, hereby submits his Sentencing Memorandum in order to give the Court

   more detail with respect to the statutory framework for this analysis the nature of the offense
                                                                                   ,




   at issue, and the nature and character of Mr. Long himself, and respectfully requests that this

   Court consider the matters addressed herein as it exercises its most important discretion: the

   determination of the sentence to be imposed in this case.




   ,
    The defendant is only one of many soon to be indicted. As indicated throughout the pre-sentence investigation
   report, diere are several licensed professionals and many others as or more deeply involved with and arguably
   more culpable with respect to the illegal activity conducted at the Professional Pain Center Although Mr. Long
                                                                                            .




   is die first to be prosecuted he is but one piece of a much larger picture and has, throughout the Government's
                               ,



   investigation, endeavored to cooperate and assist to the best of his ability
                                                                              .




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                                    MEMORANDUM OF LAW


                                     I   .
                                                 Legal Framework

            a   .
                    Procedural History

            1.
                    Charges

            The defendant was charged by Information with one (1) count of Conspiracy to

   Commit Money Laundering in violation of 18 U.S.C. § 1956(h). A violation of 18 U.S.C. §

   1956(h) carries a maximum sentence of twenty (20) years' imprisonment a fine of not more
                                                                               ,




   than $500,000.00 or twice the value of the property involved in the transaction whichever is
                                                                                      ,




   greater, a term of supervised release of not more than three (3) years, and a special assessment

   of $100.00. There is no mandatory or statutory minimum period of imprisonment for this

   crime. It should be noted that there are no specifically identifiable victims of the crimes listed

   above.


            2   .
                    Disposition

            Mr. Long and the United States entered into a plea agreement wherein Mr. Long

   agreed to plead guilty to Count One (1) of the Information operative herein. Mr. Long pled

   guilty before the United States Magistrate Judge Gregory J. Kelly on October 11, 2016. The

   following day, on October 12, 2016 United States District Judge Roy B. Dalton, Jr., accepted
                                             ,




   the plea and adjudicated Mr. Long guilty of the offense. The sentencing in this matter is

   scheduled for January 9, 2017.

            3   .   Defendant,s Assistance to the Government


            In taking responsibility for his conduct in a timely manner the defendant has assisted
                                                                        ,




   authorities in the investigation of the offense by providing timely notification of his intent to

   plead guilty. Pursuant to the written plea agreement, the government will recommend a three




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   (3) level reduction for acceptance and responsibility.

                          Furthermore       ,   Mr. Long has endeavored to provide further assistance to the authorities

   by inter alia, attending and providing information during a proffer which took place on August
                ,




   9,           2013, and during a proffer which took place on October 14, 2016. Additionally, further

   cooperation is expected as the government continues its investigation(s). The defendant has

   made an effort to and intends to continue his efforts to provide substantial assistance to the

   government.

   b    .
                          Sentencing Proceedings after Gall v. United States

                          The Supreme Court has clearly held that a sentencing proceeding must begin with the

   district court correctly calculating the applicable Guidelines range. Gall v. United States. 552

   US       .       .
                        38, 49 (2007). However it has been made equally clear by the Supreme Court that the
                                                        ,




   Guidelines are merely the starting point and the initial benchmark. Id. Thus a judge, after                       ,




                                                                                                                                   '
                                                                                      "

   hearing the respective arguments of the parties                                ,       should then consider all of the § 3553(a )

   factors to determine whether they support the sentence requested by a party." Id. at 49-50

   (emphasis added). The judge, in doing so, cannot presume that the outcome dictated by the

   Guidelines is reasonable. Id. at 50. Indeed                            ,   judges may consider arguments that the applicable

   guidelines fail to properly reflect § 3553(a) consideration, reflect unsound judgment, do not

   treat defendant characteristics in the proper way or result in an inappropriate sentence. Rita
                                                                                  ,




   v.
            United States. 551 U.S. 338                 ,   351 (2007).

   c.
                          18 U.S.C. § 3553 and Sentencing Factors

                          Title 18   ,   United States Code, Section 3553 contains a substantial number of factors

   the Court must consider in imposing a sentence. It is axiomatic that the Court must impose
                              "
   a sentence                                                                                "

                               sufficient, but not greater than necessary to meet the stated goals of justice                      ,




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   deterrence, protection of the public and rehabilitation of the defendant. 18 U.S.C. § 3553(a)
                                         ,




   & (a)(2)(A)-(D). (emphasis added).

             The legislative history of the Sentencing Reform Act also indicates Congress' strong

   desire for judges to exercise their own discretion in imposing sentence after careful

   consideration of the factors. The history itself states:

             The sentencing judge has an obligation to consider all the relevant factors in a
             case and to impose a sentence outside the guidelines in an appropriate case.
             The purpose of the Sentencing Guidelines is to provide a structure for
             evaluating the fairness and appropriateness of the sentences for an individual
             offender not to eliminate the thoughtful imposition of individualized
                     ,


             sentences.



   S.
        REP. No. 98-225, at 52 (1983).

             The factors provided for the court to consider pursuant to 18 U.S.C. § 3553(a) are:

             (1)     the nature and circumstances of the offense and the history and
                     characteristics of the defendant;
             (2)     the need for the sentence imposed -
                     (A)    to reflect the seriousness of the offense;
                     (B)    to afford adequate deterrence to criminal conduct;
                     (C)    to protect the public from further crimes of the defendant; and
                     (D)    to provide the defendant with needed educational or
                            vocational training medical care, or other correctional
                                                 ,


                             treatment in the most effective manner;
             (3)     the kinds of sentences available;
             (4)     the kinds of sentences and the sentencing range established for -
                     (A)     the applicable category of offense committed by the applicable
                             category of defendant as set forth in the guidelines

                             (i)     issued by the Sentencing Commission ....


             (6)     the need to avoid unwarranted sentence disparities among defendants
                     with similar records who have been found guilty of similar conduct;
                     and
             (7)     the need to provide restitution to any victims of the offense.




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              Further  ,   in assessing any of these factors, the admonition in 18 U.S.C. § 3582 must

    not be discounted. In addition to the factors from § 3553(a), the Court is required to
    "

     recognize[ej that imprisonment is not an appropriate means of promoting correction and
                       "
    rehabilitation.        18 U.S.C. § 3582. In order to fully assess the totality of the circumstances of

    the defendant and the offense conduct, 18 U.S.C. §3661 requires that "no limitation shall be

    placed on the information concerning the background, character and conduct of [the

    Defendant] which a court of the United States may receive and consider for the purpose of

    imposing an appropriate sentence." As a result of the foregoing a careful review of each of
                                                                                    ,




    the § 3553(a) factors is warranted.

              The following will address each of the § 3553(a) factors ad seratium.

                                              II.       Facts and Application

               a   .
                           18 U.S.C. § 3553(a)(1) - Nature and Circumstances of Offense

              As mentioned above          ,   the instant offense involves a conspiracy to commit money

   laundering in violation of 18 U.S.C. § 1956(h).                  The plea agreement and pre-sentence

   investigation report [hereinafter "PSIR"] sets forth the nature and circumstances of the

   offense. As can be gleaned from a review of both documents Mr. Long's involvement was
                                                                                ,




   limited to his access to and handling of the proceeds from the Professional Pain Center.2 Mr.

   Long does not have medical training nor did he have any involvement whatsoever with the
                                                    ,




   medical field prior to the Professional Pain Center. Mr. Long was approached about investing

   in and opening a pain management clinic by Dan Bogan. As Mr. Long had the means to invest

   in such a venture       ,   he agreed, despite his limited knowledge in the field.


   2 Mr  Long was not the sole party who was named in and had access to the account(s) nor was he the only
          .
                                                                                        ,


   party to make deposits to die account(s).




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            Given his extremely limited involvement with the day to day running of the
   Professional Pain Clinic      ,   he was wholly unaware that the clinic was unlawfully prescribing

   prescriptions. Although Mr. Long was unaware of the unlawful activity, he did receive monies

   from the clinic and subsequently invested the same in rental properties and other ventures

   without any inquiry as to the legitimacy of the proceeds. Essentially Mr. Long failed to,




                                         "
   observe the age-old idiom that if it seems too good to be true it probably is." Nevertheless,
                                                                             ,




   Mr. Long acknowledges that he should have remained more involved in order to prevent the

   unlawful activity and takes full responsibility for his failure to do so.

           b .
                    18 U.S.C. § 3553(aVl) - History and Characteristics of Defendant

            The PSIR does an excellent job of providing Mr. Long's biographical data. Wholesale

   repetition of it here would be redundant save for a few key points: Mr. Long is now forty-
                                                    ,




   four (44) years old and until the instant offense, has led an exemplary life. He was and remains
                             ,




   a dedicated husband3     and loving father of four (4) outstanding children two (2) of which are
                                                                                       ,




   still minors. He built and operated a successful business (f&L Masonry Inc.) and made sure
                                                                                           ,




   that he provided for his family. He has had no prior run-ins with the law and, other than for

   the instant offense, has been a law-abiding citizen. Furthermore, Mr. Long does not have a

   history of substance abuse, nor does he have a history of mental illness. At bottom, Mr. Long's

   history and characteristics are not that of a repeat offender or criminal mastermind. He is

   simply a family man who became involved with the wrong people in his endeavor to provide

   for his family and give them as a great of a life as he could.




                        >
   3 Although   Mr. Long s first marriage ended in divorce he has been married to the current Mrs. Long for over-
                                                         ,



   five (5) years. Furthermore, Mr. Long was granted sole custody of his two (2) oldest children after the divorce
   and was dieir sole means of support, monetarily and otherwise.




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                c.
                             18 U.S.C. § 3553(a)(2) - Sentencing Needs

                             1   .        The needfor the sentence to reflect the seriousness of the offense, to promote respect
                                         for the law, and providejust punishmentfor the offense.

                The instant offense is clearly solemn. However, the narrow scope of the offense

   reveals this offense to be a less serious offense compared to many that come before the court.

   See, e.g.. 18 U.S.C. §§ 1591 2332 & 2251A. Punishment of this offense by imprisonment at
                                              ,




   the sentencing guideline range calculated by the probation office exaggerates the seriousness

   of the offense        ,   does not promote respect for the law (as it will be seen as a punishment

   disproportionate to the offense conduct as well as the result), and would be, as a consequence,
                                                             ,




   unjust. In contract, a punishment the guidelines score calculated by the probation office meets

   all of these elements by affording the defendant a chance to prove that his cooperation and

   future behaviors are rewarded with only one thing: the opportunity to conform his conduct

   to societal and legal norms.

                             2.
                                         The needfor the sentence to afford adequate deterrence to criminal conduct.

                Clearly the court must impose a sentence that serves the valid goal of deterrence. In
                         ,




   light of the significant personal costs that the defendant>s own behaviors have subjected him

   to and the impact this matter has had on his family and those relationships a felony conviction     ,




   (with the attendant loss of civil rights) and a period of incarceration below the guideline score

   calculated by the probation office or probation will not only serve to deter Mr. Long from

   future transgressions but also all those with whom he comes into contact. Such a sentence
                                     ,




                "
   will still       broadcast the message" that this type of behavior is wholly unacceptable. See Gall                         .




   552 U.S. at 48 (stating that "[o]ffenders on probation are nonetheless subject to several




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   standard conditions that substantially restrict their liberty")          .   Deterrence follows as a natural


   consequence.

                     3   .
                             The needfor the sentence to protect the publicfrom further crimes of the defendant.

             The defendant's offense is his first offense and       ,   more importantly, will be his last. The

   defendant has cooperated in this matter and has expressed not only acceptance of

   responsibility but also remorse for the conduct which he engaged in. These and other actions

   taken by Mr. Long strongly indicate that he can be rehabilitated to the point where he does

   not represent a threat of future offense.

             Furthermore, the defendant does not pose a high risk of recidivism. Commissioned

   by the U.S. Sentencing Commission as a component of the fifteen-year report on their

   Legislative Mandate, the first release, titled Measuring Recidivism: The. Criminal History
                                                      ,




   Computation of the Federal Sentencing Guidelines. (May 2004), studied among other things,
                                                                                           ,




   recidivism rates associated with offender and offense characteristics and were able to highlight

   important relationship. The introductory comments to U.S.S.G. Ch. 4 Pt. A states that "while
                                                                                       ,




   empirical research has shown that other factors are correlated highly with the likelihood of

   recidivism, e.g.. age and drug abuse, for policy reasons they were not included here at this

   time." U.S.S.G. Ch. 4, Pt. A. Post Booker, however courts are now authorized to consider
                                                                ,




   such factors, and thus, said correlations have become highly relevant. One such relationship

   studied concerned offense seriousness and recidivism. The study found that there was no
                                                            '
   correlation between recidivism and the guideline s offense level. Regardless of whether the

   offender has a high or low guidelines offense level, recidivism rates are similar. Measuring

   Recidivism: The Criminal History Computation of the Federal Sentencing Guidelines, at 15

   (2004).




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           The study also concluded that there are several legally permissible offender

   characteristics that are highly correlated to recidivism rates. One such pertinent characteristic

   is age. "Recidivism rates decline relatively consistently as age increases.... Among all offenders

   under the age of 21, the recidivism rate is 35.5% while offenders over age 50 have a recidivism
                                                         ,




                   "
   rate of 9.5%.       IcL at 12. Additionally, offenders between the ages of 41 to 50 have a recidivism

   rate of only 12.7%. Id. at Exhibit 9. Mr. Long is currendy forty-four (44) years of age and,       ,




   as a result of his age, the court should consider that he presents a low risk of recidivism based

   on the findings of the above-mentioned study.

           Another pertinent characteristic is educational attainment.                       The Sentencing

   Commission's report indicates that offenders with at least a high school education (19.3%) are

   much less likely to recidivate than those with less than a high school education (31.4%). Id.
                                                                                              '
   at 12. Likewise, the Commission found a relationship between an offender s employment
                                                                          "

   status and the likelihood of recidivism. The study found that those with stable employment
                                                                      ,




   in the year prior to their instant offense are less likely to recidivate (19.6%) than are those who
                                   "

   are unemployed (32.4%). Id. Mr. Long holds a high school diploma and has successfully ran

   his own business (J&L Masonry) for over twenty (20) years and as a consequence, holds a low
                                                                          ,




   risk of recidivism.


           Further      ,
                                                                                         '
                            significant findings of the U.S. Sentencing Commission s report includes a

   lower recidivism rate for offenders who are married (13.8%) than those who are either

   divorced (19.5%) or have never been married (32.3%). Measuring Recidivism: The Criminal

   History Computation of the Federal Sentencing Guidelines, at 12 (2004) Mr. Long has been
                                                                                     .




   happily married to Mrs. Long for the past five (5) years. Likewise the U.S. Sentencing
                                                                                 ,




   Commission's report notes that offenders not using illicit drugs only have 17 4%           .
                                                                                                  chance of




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   recidivism as compared 31% of offenders who do use illicit drugs Id. at 13. Finally the report
                                                                                .
                                                                                                     ,




   also found that offenders with a criminal history score of 0 had a significantly reduced rate of

   recidivism. Id. at Exhibit 4. Specifically only 11.8% of those with a criminal history score of
                                                       ,




   0 recidivated. Id. In comparison 22.5% of those with a criminal history score of 1 recidivated.
                                           ,




   Id. Not surprisingly the percentage increases as the criminal history points increase. Id.
                            ,




             Taken as a whole, the defendant's age educational level, employment history, marital
                                                               ,




   status,   abstention from drug use, and non-existent criminal history (along with many other

   factors outlined in this memorandum) show the defendant to have a low overall risk of
                                                   ,




   recidivism.
                                                                                           I




                    4   .
                                The needfor the sentence to provide the needed educational or vocational training,
                                medical care, or other correctional treatment in the most effective manner.

             Mr. Long, if sentenced to a term of imprisonment below the guideline score calculated

   by the probation office and/or probation will receive the needed correctional treatment to
                                                           ,




   comport himself with the law. In its mandate to the Sentencing Commission Congress clearly  ,




   indicates its preference for a sentence of probation to fulfill the goals of 18 U.S.C. §

   3553(a)(2)(D). 28 U.S.C. § 994(k). Congress specifically mandated that "[t]he Commission

   shall insure that the guidelines reflect the inappropriateness of imposing a sentence to a term

   of imprisonment for the purpose of rehabilitating the defendant or providing the defendant
                                                                                                                "
   with needed educational or vocational training, medical care, or other correctional treatment.

   Id. (emphasis added). Congress further delineated this intent as follows:

             [i]f an offense does not warrant imprisonment for some other purpose of
             sentencing, the committee would expect that such a defendant would be placed
             on probation with appropriate conditions to provide needed education or
             vocational training. ... 28 U.S.C. § 994(k), which precludes the imposition of
             a term of imprisonment for the sole purpose of rehabilitation, makes clear that




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                a defendant should not be sent to prison only because the prison has a program
                that 'might be good for him.,

   S   .
           Rep. 98-225, 71 1984 n. 521 (1983). As such, the Court should carefully weigh this factor

   and determine whether a below the guideline score and/or probation would be most

   appropriate.

                d    .       18 U.S.C. § 3553(a)(3) - The Types of Sentences Available

                There are a variety of sentencing ranges and options available to this Court. As the

   PSIR explains the maximum term of imprisonment under the statute at issue here is twenty
                         ,




    (20) years. 18 U.S.C. § 1956(h). The Court may also impose a term of supervised release upon

   the defendant. Statutorily the Court may impose a term of supervised release of not more
                                      ,




   than three (3) years. 18 U.S.C. § 3583(b)(2). The guideline range for a term of supervised

   release is one (1) to three (3) years. U.S.S.G. § 5D1.2(a)(2). Additionally the Court may
                                                                                        ,




   impose a fine upon the defendant. 18 U.S.C. § 3571(b). However as noted in the PSIR, the
                                                                              ,




   defendant does not have the ability to a fine given his present financial condition.

                e    .
                             18 U.S.C. § 3553(a)(4ÿ - Sentencing Guidelines Impact

                The guidelines sentence called for in the PSIR based upon Mr. Long's offense level is

   two hundred and forty (240) months of incarceration.

                f.
                             Need to Avoid Sentencing Disparities

                In Gall, the Supreme Court instructed that the "avoidance of unwarranted disparities

   was clearly considered by the Sentencing Commission when setting the Guidelines ranges.
                                                                                                      "




   Gall. 552 U.S. at 55.           However ,   in the instant matter, the recommended guideline range of

   twenty (20) years would result in precisely the opposite of that intended by the Sentencing

   Commission (i.e. unwarranted sentencing discrepancy)            .




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           Of particular note other offenders who have been charged with conspiracy to commit
                              ,




   money laundering and involving similar facts as the ones herein have been sentenced to
                                                                           ,




   significandy lower periods of incarceration. See e.g.. United States v. Cynthia Cadet. M.D..
                                                       ,




   case no. 9:l-0-cr-80149-KAM (S.D. Fla. West Palm Beach Div.)(Cadet who had an offense
                                                                                       ,




   level of forty (40) per her PSIR was sentenced to seventy-eight (78) months after a jury trial
                                     ,




   conviction of conspiracy to commit money laundering with respect to a case involving pill

   mills in Broward and Palm Beach County); United States v. Joseph Castronuovo. M.D.. case

   no. 9:l-0-cr-80149-KAM (S.D. Fla. West Palm Beach Div.)(Castronuovo who had a guideline ,




   imprisonment range of 292 to 365 months was sentenced to eighteen (18) months after a jury
                                                   ,




   trial conviction of conspiracy to commit money laundering with respect to a case involving

   pill mills in Broward and Palm Beach County); United States v. Kim Xuan Feldman, case no.

   8:14-cr-00521-JDW-AEP (M.D. Fla. Tampa Div.)(Feldman was sentenced to forty-eight (48)

   months after a jury trial for conspiracy to commit money laundering conspiracy to illegally
                                                                                   ,




   distribute and dispense and cause the distribution and dispensing of Oxycodone Methadone,   ,




   Alprazolam and Diazepam, and three (3) counts of illegal money transactions with respect to

   a pill mill case resulting in no less than three (3) deaths); United States v. Joel A. Shutnrak. case

   no. 6:13-cr-00040-ART-HAI (E.D. KY. Southern Div.)(Shumrak the owner of a South
                                                                               ,




   Florida pill mill which grossed over fifteen million dollars ($15 000,000.00), was sentenced to
                                                                       ,




   one hundred and sixty-eight (168) months after pleading guilty to conspiracy to distribute

   oxycodone and conspiracy to commit money laundering); United States v. Tody L. Robinson.

   case no. 0:12-cr-00014-DLB-EBA (E.D. KY Norther Div.)(Robinson, the owner of two pain

   clinics (one in Florida and one in Ohio) was sentenced to forty-eight (48) months followed
                                               ,




   by three (3) years of supervised release after pleading guilty to conspiracy to commit money



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   laundering); United States v. Gerard M. DiLeo case no. 3:10-cr-101-002-MCR (N.D. Fla.
                                                        ,




   Pensacola Div.) (DiLeo a partial owner of one of the pain clinics involved and a full-time
                                ,




   prescribing physician who had an offense level of forty (40) per his PSIR, was sentenced to

   only twenty-four (24) months imprisonment followed by one (1) year of home confinement

   after he was found guilty of conspiracy to knowingly and willfully dispense, and causing to be

   dispenses schedule IV controlled substances and conspiracy to commit money laundering).

              g   .
                      Need to Provide Restitution to Victims of Offense


              Restitution is not applicable in this case. 18 U.S.C. § 3571(b).

                                             III.   Conclusion


              Mr. Long asks this Court to consider all of the factors raised in this Memorandum and

   to remember that he did not participate in any acts of violence nor were any acts of violence

   (or even a threat of violence) associated with his offense; there are no identifiable victims as a

   result of this offense. Mr. Long is in no way a threat to the community and will never run

   afoul of the law again. Mr. Long has demonstrated his genuine remorse and desire to better

   himself and make amends for his actions. He wholeheartedly desires to return to being a

   decent, cooperative, moral, and contributing member of society.               He recognizes and is

   remorseful for the potential damage to society caused by his actions. Mr. Long had no prior

   criminal arrests or convictions prior to this offense and is a very competent dependable,
                                                                                         ,




   helpful sensible, promising person, worthy of a second chance at a life.
          ,




              Furthermore  ,   the Court may and should consider Mr. Long's family situation and the

    extreme anguish experienced by him and by each member of his family. Even the Federal

    Sentencing Guidelines "do not require a judge to leave compassion and common sense at the

    door of the courtroom." United States v, Johnson. 964 F.2d 124, 125 (2d Cir. 1992); see
                                                             .
                                                                                                    ,




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    United States v. Mateo.. 299 F.Supp.2d 201 (S.D N Y 2004); United States v. Cob.. 249
                                                         .   .       .




    F.
        Supp.2d 740 (E.D.Va. 2003); United States v. Rivera. 994 F.2d 942 (1®f Cir. 1993). As noted
                                                             .




    above, Mr. Long is a dedicated husband and loving father to four wonderful children two of         ,




    whom are still minors. Mr. Long deeply regrets the effect that his actions have had on his

    family and desires nothing more than to cooperate and assist the government so that he can

    one day return to his family.

             We live in a society that preaches reform, rehabilitation and, that a man like James

    Long can change-that humanity will give him another opportunity if he deserves one. It is

    only right to allow Mr. Long the opportunity to have a future. He is not able to change the

    past or erase the wrongs, but he can make a difference in his future and the future of his

    family, and he can give of himself to improve the quality of the lives of the people around

    him.


             Respectfully submitted this 291h day of December 2016.      ,




                                                             s/ A. Brian Phillips        _




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                                                             Counsel for Defendant




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                                 CERTIFICATE OF SERVICE


           I HEREBY CERTIFY on December 29, 2016 1 filed a copy of the foregoing with the
                                                         ,




    Clerk of the Court via the CM/ECF system. I further certify that all parties to this case are

    equipped to receive service of documents via that system.




                                                          s/ A. Brian Phillips
                                                          A   .
                                                                  Brian Phillips Esq.
                                                                               ,




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